                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. 11-CR-2014-LRR
 vs.                                                              ORDER
 ASA ADAMS,
               Defendant.

                                   ___________________
        The matter before the court is Defendant Asa Adams’s Objections (docket no. 40)
to United States Magistrate Judge Jon S. Scoles’s Report and Recommendation (docket no.
29), which recommends that the undersigned deny Defendant’s Motion to Suppress
(“Motion”) (docket no. 16).
        When a party files a timely objection to a magistrate judge’s report and
recommendation, “[a] judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendations to which
objection is made.” 29 U.S.C. § 636(b)(1); United States v. Lothridge, 324 F.3d 599, 600
(8th Cir. 2003); see also Fed. R. Crim. P. 59(b)(3) (stating “[t]he district judge must
consider de novo any objection to the magistrate judge’s recommendation”). “A judge of
the court may accept, reject, or modify, in whole or in part, the findings or
recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1); see also Fed R.
Civ. P. 59(b)(3) (stating a district judge “may accept, reject, or modify the
recommendation, receive further evidence, or resubmit the matter to the magistrate judge
with instructions”). It is reversible error for a district court to fail to engage in a de novo
review of a magistrate judge’s report when such review is required. Lothridge, 324 F.3d
at 600.




       Case 6:11-cr-02014-LRR-JSS       Document 44       Filed 05/31/11     Page 1 of 2
      After de novo review, the court agrees with Judge Scoles’s findings of fact and
conclusions of law.   Accordingly, the Report and Recommendation is ADOPTED.
Defendant’s Objections are OVERRULED. The Motion is DENIED.
      IT IS SO ORDERED.
      DATED this 31st day of May, 2011.




                                         2


    Case 6:11-cr-02014-LRR-JSS      Document 44     Filed 05/31/11   Page 2 of 2
